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                                     VILLARI, LENTZ & LYNAM, LLC
                                                TRIAL LAYWERS

LEONARD G. VILLARI*                                                             STEPHEN W. BRENNAN
BRYAN R. LENTZ*                                                                 JOSHUA G. VILLARI
THOMAS A. LYNAM, III *⊤                                                         LAURA M. SIEGLE*

*ALSO ADMITTED TO NJ BAR                                                        ALSO ADMITTED TO NJ BAR
⊤ ALSO ADMITTED TO DISTRICT OF COLUMBIA BAR




                                                  July 17, 2020


Via Electronic Filing
The Honorable Matthew W. Brann
United States District Court for the
Middle District of Pennsylvania
235 North Washington Avenue
Scranton, PA 18503

          Re:       Cote v. U.S. Silica Company, et al.
                    USDC for the Middle District of PA; Docket No.: 18-cv-01440
Dear Judge Brann:
       This office represents Plaintiffs in the above-referenced matter. I write to respectfully
request a telephonic conference to discuss issues related to non-compliance of a Subpoena served
upon Northeast Freight Transfer. I have cc’d Northeast Freight Transfer’s counsel, Kelly J.
Lenahan, Esquire on this correspondence, via email, so that Ms. Lenahan is aware of my request.

          Thank you for Your Honor’s kind consideration of this request.


                                                  Respectfully submitted,


                                                  THOMAS A. LYNAM, III

TAL/mi
Cc:  All Counsel of Record (via electronic filing)
     Kelly J. Lenahan, Esquire (via email to KLenahan@mbklaw.com)




                          100 NORTH 20TH STREET│ SUITE 302 │ PHILADELPHIA, PA 19103
                           PHONE 215.568.1990 │FAX 215.568.9920 │ WWW.VLL-LAW.COM
